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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA EX
REL. ANTHONY COLANGELO and
MINBURN TECHNOLOGY GROUP,
LLC, a Virginia limited liability
company,

Plaintiff,
Vv.

EN POINTE GOV, INC., a Delaware
corporation; EN POINTE
TECHNOLOGIES, INC. d/b/a “En Pointe
Technologies,” a Delaware corporation;
EN POINTE TECHNOLOGIES SALES,
INC., a Delaware corporation;
DOMINGUEZ EAST HOLDINGS, LLC,

 

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RELATOR’S COMPLAINT FOR
DAMAGES AND PENALTIES
UNDER THE FALSE CLAIMS ACT,
31 U.S.C. §§ 3729-3732

FILED UNDER SEAL PURSUANT

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a California limited liability company; SYSTEM
and DIN GLOBAL CORP., a Delaware
corporation,
Defendants.
RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

CLAIMS ACT, 3] U.S.C. §§ 3729-3732

 
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COMES NOW Plaintiff the United States of America, by and through qui tam
relators Anthony Colangelo and Minburn Technology Group, LLC (collectively,
“Relators”), who brings this action under the False Claims Act, 31 U.S.C. § 3729, et
seq. (“FCA”), and for the complaint against Defendants allege as follows:

INTRODUCTION

l. This is an action brought on behalf of the United States to recover
damages, obtain disgorgement, and impose civil penalties resulting from the knowingly
false and/or fraudulent claims, records, certifications, and/or statements made, used, or
caused to be made or used by the Defendants from at least 2005 through the present to
obtain small business set-aside government contracts for the provision of information
technology (“IT”) products and services for which they were not eligible and to avoid
payment of fees required as part of their participation in the General Services
Administration’s (“GSA”) Multiple Award Schedule (“MAS”) program.

2. Specifically, Defendants have conspired to repeatedly and falsely represent
and certify that Defendant En Pointe Gov, Inc. is a small business concern (or caused
such to be represented or certified), thereby fraudulently making it eligible to compete
for and to be awarded small business set-aside government contracts. Defendants
essentially have used Defendant En Pointe Gov, Inc. as a “front” for En Pointe
Technologies, Inc., and its various affiliates, to gain access to hundreds of millions of

dollars in small business set-aside contracts for which they would not otherwise qualify.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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3. Further, Defendants also have conspired to substantially underreport En
Pointe Gov, Inc.’s sales under its GSA IT Schedule 70 MAS contract, No. GS-35F-
0372N, on the company’s quarterly GSA Form 72A, Contractor Report of Sales since at
least the quarter ending December 31, 2007, thereby avoiding nearly $1 million in
Industrial Funding Fees owed to the GSA and concealing the falsity of its small
business concern certifications.

4. In fact, En Pointe Gov, Inc. has, from its creation, been an affiliate of,
among others, Defendant En Pointe Technologies, Inc., a large, global IT products and
services company with thousands of employees and annual revenues in excess of $300
million.

5. By their conduct, Defendants have, to date, falsely and fraudulently
obtained at least 157 small business set-aside requirements with a value in excess of $48
million. At the same time, Defendant En Pointe Gov, Inc. has falsely and fraudulently
failed to report more than 80 percent of its GSA Schedule 70 sales, thereby avoiding
nearly $1 million in fees (and likely more) and concealing the fact that, since 2009, its
GSA sales alone have exceeded the revenue-based size standards established by the
Small Business Administration for some of the industry categories for which Defendant
En Pointe Gov, Inc. claims small business status.

6, Accordingly, and as detailed below, Defendants are liable to the United

States for the value of more than $48 million in falsely and fraudulently obtained small

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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business set-aside contracts, at least $925,819.27 in falsely and fraudulently avoided
GSA Industrial Funding Fees, treble damages at least in the amount of $147 million,
and civil penalties in excess of $2.8 million reflecting at least 260 instances of false
representations and/or claims made to the United States.
JURISDICTION AND VENUE

7. This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345,
and 1367(a) and 31 U.S.C. § 3732.

8. This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C.
§ 3732(a), which authorizes nationwide service of process in cases brought under the
False Claims Act, and because, inter alia, all five Defendants have offices in this
District, have transacted business in this District, have engaged in wrongdoing in this
District, and have at least minimum contacts with the District.

9. Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 31 U.S.C.
§ 3732(a) because all five Defendants can be found in this District, all five transact

business there, and acts proscribed by 31 U.S.C. § 3729 occurred there.

4
RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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PARTIES

10. Relator, Anthony Colangelo, is a resident of the Commonwealth of
Virginia. Relator Colangelo is the Managing Member of Relator Minburn Technology
Group, LLC, a Virginia limited liability company and service-disabled veteran-owned
small business with its primary office located in Great Falls, Virginia.

11. Defendants are a group of companies that provide IT products and services
to commercial enterprises, educational and healthcare institutions, government agencies,
and non-profits. They are all owned, directly or indirectly, by Attiazaz “Bob” Din (EN
POINTE’s founder and CEO); his wife, Naureen Din (also a member of the Board of
Directors); and members of their family.

12, Defendant En Pointe Gov, Inc. (hereinafter “EN POINTE GOV”) is a
Delaware corporation with its principal place of business located at 18701 S. Figueroa
Street, Gardena, California 90248-4506. It was created as a wholly-owned subsidiary of
EN POINTE and remained so until January 1, 2011, when it became a wholly-owned
subsidiary of DEH.

13. Defendant En Pointe Technologies, Inc. (hereinafter “EN POINTE”) is a

Delaware corporation with its principal place of business located at 18701 S. Figueroa

 

 

 

Street, Gardena, California 90248-4506, Since March 2009, it has been a wholly-owned
subsidiary of DIN GLOBAL.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No, CV-14-

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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14. Defendant En Pointe Technologies Sales, Inc. (hereinafter “EN POINTE
SALES”) is a Delaware corporation with its principal place of business located at 18701
S. Figueroa Street, Gardena, California 90248-4506. It is a wholly-owned subsidiary of
EN POINTE.

15. Defendant Din Global Corp. (hereinafter “DIN GLOBAL”) is a Delaware
corporation with its principal place of business located at 18701 S. Figueroa Street,
Gardena, California 90248-4506. DIN GLOBAL is a holding company, incorporated
on February 4, 2009, which acquired EN POINTE on or about March 11, 2009. DIN
GLOBAL is owned by Attiazaz “Bob” Din, his wife, Naureen Din, and various
members of the Din family.

16. Defendant Dominguez East Holdings, LLC (hereinafter “DEH”) is a
California corporation with its principal place of business located at 18701 S. Figueroa
Street, Gardena, California 90248-4506. DEH is a holding company, incorporated on
November 4, 2010, which acquired EN POINTE GOV on or about January 1, 2011.
The President and sole owner of DEH is Ali Din, the son of Attiazaz “Bob” Din.

The False Claims Act
17. The False Claims Act makes subject to legal action any person who

knowingly presents or causes to be presented false or fraudulent claims for payment or

 

 

 

approval to the United States. 31 U.S.C. § 3729(a)(1). The FCA also makes subject to
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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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suit any person who “knowingly makes, uses, or causes to be made or used a false
record or statement material to a false or fraudulent claim.” 31 U.S.C. § 3729(a)(1}\(B).

18. The term “knowingly” under the FCA means that a person, with respect to
information, (a) has actual knowledge of the information, (b) acts in deliberate
ignorance of the truth or falsity of the information, or (c) acts in reckless disregard of
the truth or falsity of the information. 31 U.S.C. § 3728(b)(1). No proof of specific
intent to defraud is required to show a person acted knowingly under the FCA. 31
U.S.C. § 3729(b).

19. The FCA provides for recovery of three times the damages sustained by the
United States (“treble damages”) plus a civil penalty for each false claim presented or
caused to be presented. This penalty is to be not less than $5,500 and not more than
$11,000, per instance. 31 U.S.C. § 3729(a); 28 C.F.R. § 85.3(a)(9).

The Small Business Act

20. Congress established the Smail Business Administration (“SBA”) in 1953.
The SBA is a cabinet-level agency headquartered in Washington, D.C. Its mission is to
preserve free competitive enterprise and to maintain and strengthen the overall economy
of our nation by assisting in and facilitating the creation and growth of small businesses,
a critical component of the country’s economic strength and health.

21. As set forth in Section 2 of the Small Business Act:

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-1I4-

 

 

CLAIMS ACT, 31 U.S.C, §§ 3729-3732

 
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The essence of the American economic system of private enterprise is free
competition. Only through full and free competition can free markets, free
entry into business, and opportunities for the expression and growth of
personal initiative and individual judgment be assured. The preservation
and expansion of such competition is basic not only to the economic well-
being but to the security of this Nation. Such security and well-being
cannot be realized unless the actual and potential capacity of small business
is encouraged and developed. It is the declared policy of the Congress that
the Government should aid, counsel, assist, and protect, insofar as is
possible, the interests of small-business concerns in order to preserve free
competitive enterprise, to insure that a fair proportion of the total purchases
and contracts or subcontracts for property and services for the Government
(including but not limited to contracts or subcontracts for maintenance,
repair, and construction) be placed with small-business enterprises, to
insure that a fair proportion of the total sales of Government property be
made to such enterprises, and to maintain and strengthen the overall
economy of the Nation.
15 U.S.C. § 63 1{a).
22. The Federal Acquisition Regulations (“FAR”) further state that “[i]t is the

policy of the United States that small business concerns ... shall have the maximum

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practicable opportunity to participate in performing contracts let by any Federal agency
wee FAR 52.219-8 (“Utilization of Small Business Concerns”).

23. The SBA is responsible for developing and administering initiatives to
encourage the selection of small businesses to perform government contracts. These
efforts include various programs setting aside certain government contracts exclusively
for small business concerns.

24. Inthe Small Business Act, Congress created a government-wide goal for
contracting to smail businesses, which is currently 23% of federal executive agency
procurements. 15 U.S.C. § 644(g). Each year, the SBA reports on each of the federal
agencies’ progress in reaching its goal. In order to meet the small business contracting
goals, each federal agency involved in procurement creates opportunities called “set-
asides” for either all small businesses or a subset of small businesses to compete against
a pool of like-size contractors. This allows small businesses to gain opportunities they
might not have had competing against larger, resource-rich companies.

25. For the purposes of federal procurement programs for which status as a
small business concern is required, a concern must not exceed the size standard
established by the SBA for the type of services at issue. The size standard is articulated
in terms of either the maximum allowable average number of employees in a 12-month
period or the maximum allowable average annual receipts over a three-year period. The

specific standard varies based upon the particular industry at issue. Each size standard

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is matched to an industry code described in the North American Industry Classification
System (“NAICS”), and the table is published annually in the Federal Register. 13
C.F.R. § 121.101.

26, For example, NAICS Code 541519 for “Other Related Computer Services”
has a size standard of average annual revenues of $25.5 million or less or, in the case of
“Information Technology Value Added Resellers,” 150 employees or less. 13 C.F.R. §
121.201.

27. Businesses may have a primary NAICS code, but may also qualify for
other NAICS codes depending on their business activities.

28. To qualify for small business status, a company may not be affiliated with
any other entities which, when combining the assets, employees, or other size factors of
the affiliated company or companies with the business, would cause the business to
exceed the size standards.

29. The SBA determines whether an entity qualifies as a small business
concern by counting its receipts, employees, or other measure including those of all its
domestic and foreign affiliates, regardless of whether the affiliates are organized for
profit. 13 C.F.R. § 121.103(a)(6).

30. “Affiliation” exists when one business controls or has the power to control
another or when a third party (or parties) controls or has the power to control both

businesses. 13 C.F .R. § 121.103(a)(1). Control may arise through “ownership,

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

 

 

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management, previous relationships with or ties to another concern, and contractual
relationships.” 13 C.F.R. § 121.103(a)(2). If one or more officers, directors, managing
members, or general partners of a business controls the Board of Directors and/or the
management of another business the businesses are affiliates. 13 C_F.R. § 121.103(e).

31. “Affiliation” also exists when there is an identity of interest between
individuals or businesses, including family members. Individuals or firms that have
identical (or substantially identical) business or economic interests may be treated as
though they are affiliated unless they can demonstrate otherwise. Family members,
persons with common investments, or firms that are economically dependent through
contractuai (or other) relationships, are among those treated this way. Patterns of
subcontracting, commingling of staff and/or facilities, and other veiled attempts to
disguise the true nature of the relationship may evidence an identity of interest. 13
C.F.R. § 121.103(t).

32. Additionally, “Affiliation” exists under the “Newly Organized Concern
Rule”:

Affiliation may arise where former officers, directors, principal

stockholders, managing members, or key employees of one concern

organize a new concern in the same or related industry or field of

operation, and serve as the new concern’s officers, directors, principal

stockholders, managing members, or key employees, and the one concern

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
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is furnishing or will furnish the new concern with contracts, financial or

technical assistance, indemnification on bid or performance bonds, and/or

other facilities, whether for a fee or otherwise .... A “key employee” is an
employee who, because of his/her position in the concern, has a critical
influence in or substantive control over the operations or management of

the concern.

13 C.F.R. § 121.103(g).

33. Eligibility for small business opportunities is generally determined on a
procurement-by-procurement basis. Each procurement officer must classify the product
or service being sought in a particular NAICS code, identify the size standard that the
SBA has set for that code and specify the standard in the solicitation, so businesses can
correctly determine if they qualify as small for that particular solicitation. FAR 19.102.
A business may generally qualify as small under their primary NAICS code, but may
not qualify as small for a particular procurement and vice-versa.

34. Businesses that do not qualify as a small business concern are labeled as
“other than small.” Being “other than small” is not the same as being large; it only
means that the company does not qualify under the parameters set by Congress and the
SBA to be classified as a small business concern for a procurement only available to

small businesses.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No, CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 

 
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35. The SBA relies on businesses to self-certify their qualification as a small
business when bidding on a contract. As a condition of bidding on government
contracts, a company is required to register. Effective July 30, 2012, registration has
been required through the System for Award Management (“SAM”). Prior to that time,
contractors were required to register with the Central Contractor Registration (“CCR”).

36.  Inregistering or renewing its registration (which must be done at least
annually), a business provides general information and, among other things, certifies
whether it as a small business.

37. Itis a federal criminal offense to “misrepresent ] the status of any concern
or person as a “small business concern’ .,. in order to obtain for oneself or another any”
prime contract or subcontract. 15 U.S.C. § 645,

38. When a company bids on set-aside government contracts by
misrepresenting its organizational status or affiliations with larger, non-qualified
businesses, it takes contracts away from legitimate small businesses and undermines the
objectives of the SBA.

39. The Small Business Act provides that any business that misrepresents its
status as a small business concern shall be subject to penalties under the False Claims
Act. 15 U.S.C. § 637(m)(5)(C).

40. Pursuant to 15 U.S.C. § 632(w)(1), there is a “presumption of loss to the

United States based on the total amount expended on the contract ... whenever it is

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE NO, CV-14-
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established that a business concern other than a small business concern willfully sought
and received the award by misrepresentation.”

41. Further, 15 U.S.C. § 632(w)(2) states that:

The following actions shall be deemed affirmative, willful, and intentional

certifications of small business size and status:

(A) Submission of a bid or proposal for a Federal grant, contract, [or]

subcontract ... reserved, set aside, or otherwise classified as intended for

award to small business concerns.

(B) Submission of a bid or proposal for a Federal grant, contract, [or]

subcontract ... which in any way encourages a Federal agency to classify

the bid or proposal, if awarded, as an award to a small business concern.

(C) Registration on any Federal electronic database for the purpose of

being considered for award of a Federal grant, contract, [or] subcontract ....

EN POINTE GOV’s False Statements, Certifications, and Claims

42. EN POINTE GOV has, at least 221 times, falsely stated, represented, or
certified to the United States that it is a small business concern.

43. First, in EN POINTE GOV’s certifications made through SAM on at least
the following dates, representatives of EN POINTE GOV certified that it was both “a
small business concern” and “a small business disadvantaged concern as defined in 13

C.F.R. 124.1002”:

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE NO. CV-14-

 

 

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March 22, 2012 August 5, 2013 June 10, 2014

May 21, 2013 January 28, 2014 June 12, 2014

44. Each time, the representative further specifically certified that EN POINTE
GOV is a small business under the SBA’s size standards for each of the following
NAICS codes:

334112 423430 541513
334418 511210 541519 (exception 1)
334513 541511 541519 (exception 2)
335999 541512 811212

45. Further, in some certifications, EN POINTE GOV also specifically
certified that it was a small business under the SBA’s size standards for former NAICS
codes 334111, 334113, 334119, 334611, 334613, and 443120.

46. Second, in requesting modification of its IT Schedule 70 MAS contract in
or about August 2010, EN POINTE GOV falsely represented to GSA that it was a small
business concern.

47. Third, EN POINTE GOV again falsely represented to GSA that it was a
small business concern in connection with GSA’s exercise of a five-year option on GSA
Schedule GS-35F-0372N in or about March 2013.

48. Fourth, EN POINTE GOV falsely represented to the United States that it

was a small business concern in bidding for orders and/or contracts which were

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 

 
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specifically identified as small business set-asides, including but not limited to the

following:
Contract No. Agency Award Date Amount
GS35F0372N Dept. of Defense (HQ Services / 8/22/2013 $496,723.68
Office of the Secretary of
Defense Communications)
GS35F0372N Small Business Administration 9/25/2013 $4,712,828.40
GS35F0372N Dept. of Defense 3/12/2014 $1,746,380.84
GS35F0372N Securities and Exchange 5/22/2014 $7,655,992.53
Commission
GS35F0372N Dept. of Education 5/30/2014 —$11,846,293.00
EDCIO14A0002 Dept. of Education 5/30/2014 $2,137,331.80
49. All ofthe foregoing statements, representations, and/or certifications were
knowingly false.
50. Because of its affiliation with EN POINTE, among others, EN POINTE
GOV, at the time it made such statements, representations, and/or certifications, did not

meet the size standards for any of the NAICS codes set forth above in paragraphs 44
and 45 by virtue of its affiliation with EN POINTE, among others.

51. Throughout its existence, EN POINTE GOV has been owned and

 

controlled by EN POINTE, an EN POINTE subsidiary, a common parent company,
and/or members of the Din family.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No, CV-14-

 

 

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52. From its incorporation in 2000 through 2010, EN POINTE GOV was a
wholly-owned subsidiary of EN POINTE.

53. On or about January 1, 2011, EN POINTE GOV became a wholly-owned
subsidiary of DEH which in turn was owned by Ali Din, the son of the founder, CEO,
and owner of EN POINTE.

54. The same family, the Dins, are the ultimate owners of both EN POINTE
and EN POINTE GOV.

55. EN POINTE had more than 1,000 employees.

56, Until 2009, EN POINTE was a publicly-traded stock corporation listed on
the NASDAQ Stock Market.

57. Since at least 1999, EN POINTE has had annual revenues in excess of
$200 million, exceeding $500 million in some years.

58. EN POINTE GOV shares the same principal business address and office
with EN POINTE, z.e., 18701 S. Figueroa Street, Gardena, California 90248-4506.

59. EN POINTE GOV shares a telephone number with EN POINTE: 310-337-
5200.

60. The same individuals have acted on behalf of both EN POINTE and EN
POINTE GOV, both by virtue of simultaneously holding positions with both companies
and irrespective of their nominal employment by one entity or the other, including by

signing certifications to the government, serving in management positions, serving as

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No, CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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contract administrators and/or government points of contact for both entities, and

 

attending meetings with vendors,

61. EN POINTE GOV utilizes special partnerships, authorizations, and other
arrangements held by EN POINTE with computer hardware and software
manufacturers, including EN POINTE’s Licensing Solution Provider (“LSP”)
authorization from Microsoft.

62. EN POINTE and EN POINTE GOV utilize a shared, or at least
overlapping, information technology infrastructure. Both companies utilize the same
online ordering system called “AccessPointe.” Both companies use email addresses that
end with the same domain, i.e., “@enpointe.com.”

63. EN POINTE has itself used EN POINTE GOV’s government contracts to
market itself, including by specific reference to EN POINTE GOV’s GSA IT 70 MAS
contract.

64. Since at least October 2012, EN POINTE SALES has performed for EN
POINTE GOV sales and marketing support services, procurement services, information
technology systems services (including telephones, email, computers, and printers),
office equipment, meeting facilities, facilities management, and accounting, tax, and
legal services.

65. Including EN POINTE’s employees and revenues with those of EN
POINTE GOV results in employment and revenue figures that exceed (in some

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE Case No. CV-14-

 

 

CLAIMS ACT, 31 U.S.C, $§ 3729-3732

 
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instances far exceed) the SBA-established size standards for all of the NAICS codes
claimed by EN POINTE GOV.

66. Moreover, even setting aside the revenue of EN POINTE or any other
affiliate, EN POINTE GOV’s revenues from transactions with the federal government
in both 2012 and 2013 exceeded the revenue-based size standard ($25.5 million) for
NAICS Codes 541511 (Custom Computer Programming Services), 541512 (Computer
Systems Design Services), 541513 (Computer Facilities Management Services), 541519
(Other Computer Related Services - Exception 1), and 811212 (Computer and Office
Machine Repair and Maintenance).

67. Between January 1, 2009 and December 31, 2013, EN POINTE GOV’s
transactions with various federal agencies, with base and exercised options, were
obligated at an annual average in excess of $37.5 million.

68. Despite not qualifying as a small business concern, EN POINTE GOV has
received, and submitted claims for payment in connection with, at least 141 transactions

from various federal agencies specifically designated as small business set-asides. The

 

total value of those actions, including the base and all options, is $47,908,225.84.
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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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EN POINTE’s False Statements, Certifications, and Claims

69. EN POINTE itself has falsely stated, represented, or certified to the United
States at least 39 times that it is a small business concern.

70. — First, in EN POINTE’s certifications made through SAM on at least the
following dates, representatives of EN POINTE certified that EN POINTE is “a small
business concern.” Such false certifications were made on at least the following dates:

June 27, 2012 August 7, 2013 June 10, 2014

71. Each time, the representative further specifically certified that EN POINTE

is a small business under the SBA’s size standards for each of the following NAICS

 

codes:
334111 334418 423430
334112 334513 519130

72. Further, in some certifications, EN POINTE also specifically certified that
it was a small business under the SBA’s size standards for former NAICS codes
334113, 334119, 334611, 334613, and 443120.

73. Second, EN POINTE falsely represented to the United States that it was a
small business concern in bidding for orders and/or contracts which were specifically
identified as small business set-asides.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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74. EN POINTE has received, and submitted claims for payment in connection
with, at least 16 transactions from various federal agencies designated as small business
set-asides with a total value of $187,055.88.

75. Even setting aside the employees and/or revenue of EN POINTE GOV or
any other affiliate, since at least 1995 EN POINTE’s own employees and revenues have
exceeded the SBA-established size standards for all of the NAICS Codes identified
above in paragraphs 71 and 72.

EN POINTE GOV’s Under-Reporting of GSA Schedule Sales

76. Inthe 1950s, the General Services Administration (“GSA”) created the
Federal Supply Schedule program, commonly referred to as the Multiple Award
Schedule (“MAS”). The MAS program provides agencies with a simplified process of
acquiring commercial supplies and services in varying quantities while obtaining
volume discounts. Under the program, indefinite-delivery/indefinite-quantity (“IDIQ”)
contracts are awarded to various contractors allowing them to provide identified
supplies and/or services at stated prices and subject to pre-negotiated terms and
conditions. FAR 38.101(a). Once GSA issues a vendor an MAS contract, a buying
agency may simply order directly from the vendor.

77, One way to do this is through GSA’s online shopping and ordering system
called “GSA Advantage!”, one component of which is an electronic request-for-

quotation (“RFQ”) tool called “e-Buy.” Through e-Buy, the agency publicizes and

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No, CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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disseminates a statement of work (“SOW”) and solicits quotations from GSA Schedule
contractors.

78. Since November 2, 2011, agencies have been able to set aside orders and
Blanket Purchase Agreements (“BPAs”) issued under the MAS program for small
business concerns, including RFQs posted on e-Buy. Such postings are to include a
label identifying what kind of a set-aside the RFQ is and language stating that quotes
from Schedule contractors who are not eligible for the set-aside will not be considered
for award.

79. MAS contracts are typically 20-year contracts comprised of a five-year
base period with three five-year option periods. As a condition of the award of an MAS
contract, contractors are required to pay a fee to GSA equal to 0.75 percent of sales
made under the schedule. This is called the Industrial Funding Fee (“IFF”) and it is
intended to compensate GSA for the cost of running the schedule. Contractors pay the
IFF on a quarterly basis in conjunction with the filing of aGSA Form 72A, Contractor
Report of Sales,” through which the contractor reports its sales for the preceding
calendar quarter.

80, The largest of GSA’s MAS contracts is the IT Schedule 70. It enables any
federal government agency to directly contract with commercial vendors for

information technology products and services.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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8i. Since 2003, Defendant EN POINTE GOV has had an IT Schedule 70 MAS
contract, GSA Schedule GS-35F-0372N.

82. EN POINTE GOV has received at least 2,084 transactions from various
federal agencies utilizing its GSA Schedule, GS-35F-0372N. The total value of those
actions, including the base and all options, is more than $260 million.

83. For transactions executed through its GSA Schedule, GS-35F-0372N, with
an effective date on or after October 1, 2007 and on or before March 31, 2014, the value
of the base and all exercised options is $146,862,530.15,

84. However, on its GSA Form 72A, Contractor Reports of Sales submitted to
GSA for the same period, EN POINTE GOV reported just $23,419,961.

85. Accordingly, for fiscal year 2008 through the first quarter of 2014, EN
POINTE GOV has reported only approximately 16% of its actual total sales through its
IT Schedule 70 MAS contract, GSA Schedule GS-35F-0372N,

86. EN POINTE GOV has failed to report $123,442,569.15 in sales through its
GSA schedule resulting in at least $925,819.27 in unpaid IFF fees.

COUNT I
Conspiracy to Violate the False Claims Act — 31 U.S.C. § 3729(a)(1)(C)

87. Relators repeat and reallege paragraphs | through 86 above as if fully set
forth herein.
88. Beginning in or about 2005 and continuing through the date of this

Complaint, all Defendants willfully conspired to:

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER FHE FALSE CASE No, CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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a. knowingly present, or cause to be presented, false or fraudulent
claims for payment or approval by the United States;

b. knowingly make, use, or cause to be made or used, false records or
statements material to false or fraudulent claims;

c. knowingly make, use, or cause to be made or used, false records or
statements material to an obligation to pay or transmit money to the United
States; and

d. knowingly conceal or knowingly and improperly avoid or decrease
an obligation to pay or transmit money to the United States,

all in violation of 31 U.S.C. § 3729(a)(1).
89. One or more of Defendants performed various overt acts in furtherance the
conspiracy, including but not limited to the following:

a. On various dates (including but not limited to March 22, 2012, May
21,2013, August 5, 2013, July 28, 2014, June 10, 2014, June 12, 2014, and July
21, 2014) submitting SAM registrations certifying that EN POINTE GOV was a
small business with respect to certain NAICS codes;

b. On various dates (including but not limited to June 27, 2012, August
7, 2013, and June 10, 2014) submitting SAM registrations certifying that EN

POINTE was a small business with respect to certain NAICS codes;

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
CLAIMS ACT, 31 U.S.C, §§ 3729-3732

 

 
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c, In or about August 2010, in requesting modification of EN POINTE
GOV’s IT Schedule 70 MAS contract, falsely representing to GSA that it was a
small business concern.

d. In or about March 2013, again representing and certifying that EN
POINTE GOV was a small business concern in connection with the government’s
exercise of its five-year option on EN POINTE GOV’s GSA Schedule contract,
GS-35F-0372N;

e. On various dates, bidding for orders and/or contracts set aside for
small business concerns as set forth above in paragraphs 48, 68, 73, and 82;

f. On various dates, submitting invoices and/or requests for payment to
the United States in connection with orders and/or contracts set aside for small
business concerns as set forth above in paragraphs 68, 73, and 82: and

g. On a quarterly basis, from at least January 2008 through the present,
submitting GSA Form 72A, Contractor Reports of Sales, that understate the
amount of EN POINTE GOV’s sales using its GSA Schedule.

90. By virtue of the conspiracy, the United States suffered damages and

therefore is entitled to recover its damages, treble damages under the False Claims Act,

and a civil penalty for each violation thereof.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE F ALSE CASE No, CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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COUNT II
False Claims Act — 31 U.S.C. § 3729(a)(1)(A)
Presentation of False or Fraudulent Claims
91. Relators repeat and reallege paragraphs 1 through 90 above as if fully set
forth herein.
92. Defendants knowingly presented, or caused to be presented, false or
fraudulent claims for payment or approval by the United States.
93. By virtue of the false or fraudulent claims knowingly made or caused to be

made by Defendants, the United States suffered damages and therefore is entitled to
recover its damages, treble damages under the False Claims Act, and a civil penalty for

each violation thereof.

COUNT Hl
False Claims Act — 31 U.S.C. § 3729(a)(1)(B)
Making or Using False Records or Statements
Material to False or Fraudulent Claims
94, Relators repeat and reallege paragraphs 1 through 93 above as if fully set
forth herein.
95. Defendants knowingly made, used, or caused to be made or used, false

records or statements (i.¢., the false representations, certifications, and re-certifications
that EN POINTE and/or EN POINTE GOV were small business concerns and the false
GSA Form 72A reports) material to false or fraudulent claims.

96. By virtue of the false records or false statements knowingly made or caused

to be made by Defendants, the United States suffered damages and therefore is entitled

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No, CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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to recover its damages, treble damages under the False Claims Act, and a civil penalty

for each violation thereof.

COUNT IV
False Claims Act — 31 U.S.C. § 3729(a)(1)(G)
Making or Using False Records or Statements Material to an Obligation to Pay

97. Relators repeat and reallege paragraphs 1 through 96 above as if fully set
forth herein.

98. Defendants knowingly made, used, or caused to be made or used, false
records or statements (i.e., the false GSA Form 72A reports) material to an obligation to
pay money to the United States, specifically GSA’s Industrial Funding Fees.

99. By virtue of the false records or false statements knowingly made or caused
to be made by Defendants, the United States suffered damages and therefore is entitled
to recover its damages, treble damages under the False Claims Act, and a civil penalty
for each violation thereof.

COUNT V

False Claims Act — 31 U.S.C. § 3729(a)(1)(G)
Concealing, Avoiding, or Decreasing an Obligation to Refund

100. Relators repeat and reallege paragraphs 1 through 99 above as if fully set
forth herein.

101, Defendants knowingly concealed or knowingly and improperly avoided or
decreased an obligation to pay money to the United States funds, specifically GSA’s
Industrial Funding Fees, by underreporting the amount of EN POINTE GOV’s sales on

its GSA Schedule on its GSA Form 724A reports.

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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102. By virtue of the false records or false statements knowingly made or caused
to be made by Defendants, the United States suffered damages and therefore is entitled
to recover its damages, treble damages under the False Claims Act, and a civil penalty
for each violation thereof. |

PRAYER FOR RELIEF

 

WHEREFORE, Relators request that judgment be entered in favor of the United
States and against Defendants jointly and severally as follows:

1. For an award of damages in the amount of at least $49,021,100.99,
reflecting the value of the contracts obtained by Defendants’ improper conduct (at least
$48,095,281.72) and the amount of IFF fees they failed to pay (at least $925,819.27);

2. For an award of treble damages under the False Claims Act in the amount
of at least $147 million;

3, For civil penalties in the amount of at least $2,860,000, reflecting the
maximum penalty available under the False Claims Act ($11,000) for each false
statement or claim, which total at least 260;

4. For injunctive relief;

5, For an award to Relators in the maximum amount permitted under 31
U.S.C. § 3730(d) or any other applicable law, including alternate remedy provisions;

6. For an award to Relators of their court costs, litigation expenses, and

reasonable attorney’s fees; and

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-

 

 

CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
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Dated: July 25, 2014

 

Of Counsel:

By:

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7. For all such further relief as may be just and proper.

KLEVEN MCGANN LAW

UAE ete eT

Sarah Kleven McGann (230408)
105 West F Street, 4" Floor

San Diego, CA 92101

Tel: (619) 838-2419

Fax: (619) 858-3306

Daniel Marino (pro hac vice forthcoming)
Tillman J. Finley (pro hac vice

forthcoming)

MARINO FINLEY PLLC

1100 New York Avenue, NW Suite 700W
Washington, DC 20005

Tel: (202) 223-8888

Fax: (877) 239-2146

Counsel for Relators Anthony Colangelo
and Minburn Technology Group, LLC

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RELATOR’S COMPLAINT FOR DAMAGES AND PENALTIES UNDER THE FALSE CASE No. CV-14-
CLAIMS ACT, 31 U.S.C. §§ 3729-3732

 
 

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Case 2:14-cv ONITED SY TES DISTRICE COURT, CENTRAL DISTRICT OF CALIFORNIA g
. . CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you-are representing yourself [_] ) DEFENDANTS = {Check box if you are representing yourself [])}

United States ex rel. Anthony Colengelo and Minburn Technology Group, LLC

En Pointe Gov, Inc.; En Pointe Technologies, inc.; En Pointe Technalogies Sales, Inc,
Dominguez East Holdings, LLC; and Din Global Corp.

 

(b) County of Residence of First Listed Plaintiff
"(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(iN U.S. PLAINTIFF CASES ONLY)

Los Angeles County

 

(c} Attorneys (Firm Name, Address and Telephone Number} If you are
representing yourself, provide the same information.

Kleven McGann Law

105 West F St, 4th Floor

san Biego, CA 92101

Tel: (619) 838-2419

Attorneys (Firm Name, Address and Telephone Number) {f you are
representing yourself, provide the same information.

 

 

Il, BASIS OF JURISDICTION (Place an X in one box only}

 

Il. CIFIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

 

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1. U.S. Government [_] 3. Federal Question (U.S. Citizen of This State C] 1 [] 1 Incorporated or Principal Place li 4 c 4

Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [7] 2 [] 2. Incorporatedand Principal Place [7 5 [] 5
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V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [ ] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [~]Yes No

MONEY DEMANDED IN COMPLAINT: $ 199,000,000

VE. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
False Claims Act, 31 U.S.C. §§ 3729-3732, Defendants have falsely and fraudulently obtained smail business set-aside requirements.

 

Vil. NATURE OF SUIT (Place an X in one box only).

     

  

 

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FOR OFFICE USE ONLY: Case Number:

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CV-71 (06/14)

CIVIL COVER SHEET

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“Case 2:14-cv-05865-RGK-JPR Document 1 Filed 07/28/14 Page 31 of 32 Page ID #:34
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

‘ CIVIL COVER SHEET

VII, VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned, This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

 
   

 

 

from state court? : Sa BS
[] Yes No ee ao parent
[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the L] Orange Southern
corresponding division in response to oo “ -
Question E, below, and continue from there, [LJ Riverside or San Bernardino Eastern

 

 

   

 

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QUESTION B: [s the United States, or |B.1. Do 50% or more of the defendants who reside in

   

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YES. Your case will initially be assigned to the Southern Division.

 

 

one of its agencies or employees, a —_[the district reside in Orange Co? [] Enter “Southern” in response to Question E, below, and continue
PLAINTIFF in this action? from there,
check one of the boxes to the right mp
Yes [] No NO. Continue to Question 6.2.

 

; B.2. Do 50% or more of the defendants who reside in
If"no, " skip to Question C. If"yes," answer — |the district reside in Riverside and/or San Bernardino o
Question 8.1, at right. Counties? (Consider the two counties together.)

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue

 

from there.
check one of the boxes to the right NO. Your case will initially be assigned to the Western Division.
> Enter "Western" in response to Question E, below, and continue

from there.

     

         

 

 

 

en ee a nee (i a ae
QUESTION C: isthe United States, or €.1. Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a —_[ district reside in Orange Co.? [J Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action? from there.
check one of the boxes to the right =>
[] Yes [J No [1 NO. Continue to Question C.2.
€.2, Do 50% or more of the plaintiffs who reside in the YES, Your case will initial i yi ed
we ene . noe ee oes : . ly be assigned to the Eastern Division.
if no," skip to Question D. If "yes," answer — |district reside in Riverside and/or San Bernardino [] Enter "Eastern" in response to Question €, below, and continue
Question C.1, at right. Counties? (Consider the two counties together.) from there.
check one of the boxes fo the right —> NO. Your case will initially be assigned to the Western Division.
[_] Enter "Western" in response to Question E, below, and continue

from there.

 

 

 

 
   
 
 
     

 

 

Indicate the focation(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

Pie ence eene: ee HOR AGU Se Unie ar ee

D.1, Is there at least one answer in Column A?
f | Yes [ ]No
if "yes," your case will initially be assigned to the
SOUTHERN DIVISION,

Enter "Southern" in response to Question E, below, and continue from there.

        

    

   
   

  
   

        
 

4 eee

BSN ET GO Ge eC
D.2. [s there at least one answer in Column B?
[]Yes [] No
lf "yes," your case will initially be assigned to the
EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

 

      
  
  
  
   
 

If"no," go to question D2 to the right. maaan if "no," your case will be assigned to the WESTERN DIVISION,

Enter “Western' in response to Question E, below.

   

 

 

   

[3 Yes No

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

1 CIVIL COVER SHEET
IX(a}. IDENTICAL CASES: Has this action been previously filed in this court? NO [| YES
If yes, list case number(s):
EX(b). RELATED CASES: Is this case related (as defined below) to any cases previously filed in this court? NO [|] YES

if yes, list case number(s):

Civil cases are related when they:

 

[_] A. Arise from the same or closely related transactions, happening, or event;

|_| B. Call for determination of the same or substantially related or similar questions of law and fact; or

[| C. For other reasons would entail substantial duplication of labor if heard by different judges.

Check all boxes that apply. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases

related.

 

X. SIGNATURE OF ATTORNEY
{OR SELF-REPRESENTED LITIGANT):

Gaya? i Pacer rennin DATE: -t -as-4

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1, This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-07 TA).

 

 

Kay to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

HA

BL

DIWC

DIWW

SSID

RSi

Abbreviation

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc. for certification as providers of services under the program.
(42 U.S.C, 1935FF{b))

Alf claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended,

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended,
(42 U.S.C. 405 (g)}

 

CV-71 (06/14)

CIVIL COVER SHEET Page 3 of 3
